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N_S_D_C_ CoUNSEL/'PARHES OF RECC
2190 E. Mesquite Ave. APR 2 7 2018
Pahrump, Nevada
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UNITED S'I`ATES DISTRICT C()URT

DISTRICT OF NEVADA
wm
UNITED STATES OF AMERICA
Plaintiff, Case No. 2:] 5-cr-00014-APG-VCF
;MOTION 'l`O DISMISS FOR STATUTORY
v. jVAGUENESS
Omar Qazi
Accused. § (Evidentiary Hearin g Requested)

Certification: This Motion is being filed timely.

COMES NOW, Omar Qazi, by Special Appearance, hereby filing this Motion to Dismiss for Statutory
Vagueness, _and Req\.}est for Evidentiary Hearing. For the reasons outlined in the attached Memorandum
of Points and Authorities, l request that the Court enter an order granting this Motion to Dismiss for

InsuHiciency of the ]ndictmcnt.

 

 

 

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MEMORANDUM OF POINTS AND AUTHORITIES
I.
BACKGROUND
On lanuary 2(}, 2015, a federal grand jury allegedly returned a Criminal lndictrnent charging the
accused with one count of Possession of a Firearm, in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).
Dkt.# l_. On February 08, 2015, the accused was arrested by the State on an un-related charge that was
immediately dismissed at arraignment in State Court. The accused remained in State custody due to the
Federal hold for this case. On February 24, 2015, the accused was transfered to Federal custody, where
the accused currently awaits trial.
II.
ARGUMENT
The recent U.S. Supeme Court decision in Sessfons v. Dz'maya, 584 U. S. _ (2018), held the

following:

The void-for-vagueness doctrine, as we have called it, guarantees that ordinary people have

“fair notiee” of the conduct a statute proscribes. Papachrr`s!ou v. Jncksonville, 405 U. S.

156, 162 (1972). And the doctrine guards against arbitrary or discriminatory law

enforcement by insisting that a statute provide standards to govern the actions of police

ofiicers, prosecutors, juries, and judges. See Kolender v. Lawson, 461 U. S. 352, 357- 358

(1983). In that sense, the doctrine is a corollary of the separation of powers-requiring that

Congress, rather than the executive or judicial braneh, define what conduct is sanctionable

and What is not. Cf. id., at 358, n. 7 (“[l]f the legislature could set a net large enough to

catch all possible ofl`enders, and leave it to the courts to step inside and say who could be

rightfully detained, [it would] substitute the judicial for the legislative department” (internal

quotation marks omitted)).

The U.S. Supreme Court has held both the Fit`th Amendment indictment clause and the Sixth

lAmendment notice clause requires an indictment to “sufficiently apprise the defendant of what he must

1 be prepared to meet.” Rus.rell v. United States, 369 U.S. 749, 763 (1962). To fairly apprise the accused of

what he must be prepared to meet, criminal statutes must be reviewed for vagueness from the point of

 

 

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view of a "person of ordinary intelligence." Grayned v. City ofRoclgford, 408 U.S. 104, 108 (1972). Tllat
is because "[v]ague laws may trap the innocent by not providing fair warning." Id.
ln Connally v General Conslrzrcrion Co., 269 U.S. 385 (1926), the U.S. Supreme Court held that
"a statute which either forbids or requires the doing of an act in terms so vague that men of common
intelligence must necessarily guess at its meaning and differ as to its application violates the first
essential ofdue process of law." Id. at 391. "Penal statutes prohibiting the doing of certain things, and
providing a punishment for their violation, should not admit of such a double meaning that the citizen
may act upon the one conception of its requirements and the courts upon another." Id. at 393. "lt is
established that a law fails to meet the requirements of the Due Process Clause if it is so vague and
standardless that it leaves the public uncertain as to the conduct it prohibits . . . ." Giaceio v.
Pennsylvania, 382 U.S. 399, 402 (1966).
The lndictment in the instant case reads as follows:

THE GRAND J'U`RY CHARGES THAT:

On or about January 6, 2015, in the State and E`ederal

District of Nevada,

oman anr

Defendant herein, having been convicted of a crime

punishable by imprisonment for a term exceeding one year, to

wit: (1) a 2012 conviction, in the State of Nevada, for

Battery with Substantial Bodily Harm, did knowingly possess

a firearm, to wit: a Smith & Wesson . 22 caliber firearm

bearing serial number. M37231 , said possession being in and

affecting interstate commerce and said firearm having been

shipped and transported in interstate commerce, all in

violation of Ttitle 18, United States Code, Sections 922(g)
(l) and 924(a)2. temphasis added)

18 U.S.C. § 922(g)(l) states in pertinent part:

"It shall be unlawful for any person . . . who has been

 

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convicted in any court of, l a crime punishable by imprisonment
for a term exceeding one year . . . to ship or transport in
interstate or foreign commerce, or possess in or affecting
commerce, any firearm or ammunition; or to receive any
firearm or ammunition which has been shipped or transported
in interstate or foreign commerce . " (emphasis added)

"In cases where the indictment tracks the words of the statute charging the offense, the
indictment will be held sufficient so long as the words unambiguously set forth all elements necessary to
constitute the ofi`ense." Um`ted Slaies v. Davis, 336 F.3d 920, 922 (9th Cir. 2003); See also United Stares
v. Filzgerald, 882 F.2d 397, 399 (9th Cir.l989). The indictment does not track the words of the statute
charging the oft`ense. Additionally, the accused "has a right to be apprised of what overt act the
government will try to prove at trial. See Um'red States v. Resendz'z-Ponce, 549 U.S. 102, 106 (2007). The
indictment must “fully, directly, and expressly, without any uncertainty or ambiguity, set forth all the
elements necessary to constitute the offence intended to be punished." See Urzited State.s' v. Carll, 105
U.S. 6ll, 612 (1882) (emphasis added)

Here, the indictment, and the statute are both insufiicient because they do not apprise a person of
ordinary intelligence specifically what the government will try to prove at trial. Will the government try
the accused at trial in the present tense regarding the interstatel commerce element? However, it now
appears that the government will not try the accused in the present tense, according to the governments
recent discovery disclosures. Additionally, the average person who is charged with this statute commonly
asks his or her attorney questions regarding this matter. Questions such as, "I didn't have anything to do
with interstate commerce, so why am I being charged for this?" Which is the exact question the accused

asked Attorney l-leather Fraley at araignment after reading the indictment, People also say “l have never

` shipped or transported a firearm, so why am l charged with this statute?

According to Merriam-Webster; The O_;_‘ficr'al Scr'abble Players Dr'ctiona)y, Fourth Ea’ilr'on
(2.005), "Has" is defined as "A present 3d person singular of have." Id.; "Having" is defined as "Present
participle of have." ld. ; And "l-iad" is defined as "A past tense of have." Id.

The word "has" as opposed to the word "had" was used in the statute. "Has" is the third person l

 

 

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singular, present indicative verb, meaning an action or situation that is currently ongoing or active; where
"had" is the past tense participle ofthe verb have, meaning in a previous action or situation. So ifone
where currently in progress of shipping or transporting, or if one was the direct recipient then the word
"has" would be appropriate. However, if it were expansive, intended to include any firearm previously
shipped or transported in interstate commerce, then "had" would be the proper verb. The use of "had"
would have meant to include any and all that "had" been shipped or transported any time prior.

Thereby, the accused challenges the government to provide a hypothetical scenario Where the
term "has been" would o_nly apply to the past, with no possibility of applying it to the present lt simply
cannot be done. 4

Lilcewise, the phrase "having been shipped“ was used in the indictment, in which "having" is the
present tense participle of have. Id. But an indictment is constitutionally sufficient only if it clearly
informs the accused of the precise offense of which he is accused so that he may prepare his defense and

§so that ajudgment thereon will safeguard him from a subsequent prosecution for the same offense. See 1

l Charles Alan Wright & Arlhur Jv!r`lle); Federal Praclice & Procea'ure Crr`mz`nal § 125 (3d ed. 2000 &
Supp. 2005} ("the test for sufficiency ought to be whether it is fair to defendant to require him or her to
defend on the bases of the charge as stated in the particular indictment or information The stated
requirement that every ingredient or essential element of the offense should be alleged must be read in
the light of the fairness test just suggested.") (emphasis added). However, a common reading and
understanding of the indictment clearly suggests that I am only charged in the present tense, and I am
only prepared to defend against that charge as stated precisely in the alleged indictment

The statute, and the indictment both do not contain any additional terms or phrases such as: "at
any time"; "past or present"; "previously"; "before"; "theretofore"; "precedingly"; "prior"; "formerly";
"earlier"; "heretofore"; "already been"; "pas "; which would clearly inform the accused that he is being
charged in the past tense without any uncertainty The use of these terms or phrases in the statute would
have authorized that element of the offense to be tried in the past tense at trial. For example, See 18
U.S.C. § 922(k}7("1t shall be unlawful for any person knowingly to . possess or receive any firearm

which has had the importer's or manufacturer‘s serial number removed, obliterated, or altered and has, g

gyy_Lir_n_e, been shipped or transported in interstate or foreign commerce." (emphasis added)).

 

 

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In this regard, the U.S. Supreme Court in Keene Corp. v. United States, 508 U.S. 200, 208
(1993), explicitly held “[W]hen Congress includes particular language in one section of a statute but
omits it in another . . . it is generally presumed that Congress acts intentionally and purposely in the
disparate inclusion or exclusion." Therefore, it must be presumed that Congress acted intentionally and
purposely when they included "at any time" in 18 U.S.C. § 922(1<), but omited this language from the
other section of the same statute in 18 U.S.C. § 922(g). _

"The preeminent canon of statutory interpretation requires us to 'presumc that [the] legislature
says in a statute what it means and means in a statute what it says there..' Thus, our inquiry begins with
the statutory text, and ends there as well if the text is unambiguous." Bea’Roc le., LLC v. Unired Stn!es,
541 U.S. 176, 183 (2004) (intemal citations omitted). lt should not be "presum[ed] that 'the legislature
was ignorant of the meaning of the language it employed." Id. at 186-87. When interpreting a statute, the -
court begins with the statutory text and interprets "statutory terms in accordance with their ordinary
meaning, unless the statute clearly expresses an intention to the contrary." Um`led Slates v. Neal, 776
F.3d 645, 652 (9th Cir. 2015),' See also Walters v. Melro. Edzrc. Enters., Inc., 519 U.S. 202, 207 (1997);
Camr'nelti v Uniled Slates, 242 US 470, 485-86 (1917).

In the context of interpreting statutes, the Supreme Court has consistently held that statutory
construction "must begin with the language employed by Congress and the assumption that the ordinary
meaning of that language accurately expresses the legislative purpose." Gross v. FBL Fin. Servs., Inc.,
557 U.S. 167, 176 (2009) (citation omitted). Ordinary meaning is determined by the dictionary definition

of the word and the context in which it is used. See, e.g., Navarra v. Encr`no Molorcars, LLC, 845 F.3d

`925, 930-931, 2017 U.S. App. LEXIS 344 (9th Cir., 2017) (relying on Random House Dictionary ofthe

English Language (] 966); Webster‘s Third New International Dictionary (1965); Oxford English
Dictionary (1933); and American Heritage Dictionary of the English Language [lst ed. 1969)); See also
Briggs v. Merck Sharp & Dohme, 796 F.3d 1038, 1045-46 (9th Cir. 2015) (relying on Webster‘s Third
New International Dictionary 1819 (2002))

Here, the language of 18 U.S.C. § 922(g) is clear and plain, but the plain language does not
express an intention to be applied on past shipment or transportation of a firearm. Thereby, it must be

assumed that the ordinary meaning of the language in the statute "accurately expresses the legislative

 

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purpose." Gross v. FBL Fin. Servs., Inc., 557 U.S. 167, 176 (2009). Additionally, the ordinary meaning
of the language in the statute must be enforced because the statute does not "clearly expresses an
intention to the contrary.“ See United States v. NeaI, 776 F.3d 645, 652 (9th Cir.l2015). Where "the
statute's language is plain, the sole ii.mction of the courts is to enforce it according to its terms." Um`led
States v. Ron Par'r Enlers., Inc., 489 U.S. 235, 241 (] 989)

ln Uniled Smtes v. Wiltberger, 18 U.S. 76, 5 Wheat. 76 (1820), the U.S. Supreme Court also held
"The intention of the legislature is to be collected from the words they employ. Where there is no
ambigil_“y in the words, there is no room for construction The case must be a strong one indeed, which
would justify a court in departing from the plain meaning ofwords, especially in a penal act, in search of
an intention which gha words themselves did not sygggs[. 0 l m 'n h '. w` h `n t intenlion
of g sigtgtg, fgs language must authorize us lo sgg so. lt would be dangerous, indeed, to carry the

lprinciple, that a case which is within the reason or mischief of a statute, is within its provisions, so far as

to punish a crime not enumerated in the statute, because it is of equal atrocity, or of kindred character,

with those which are enumerated." ld. at 96. (emphasis added)

"The constitutional requirement of definiteness is violated by a criminal statute that fails to give a
person of ordinary intelligence fair notice that his contemplated conduct is forbidden by the statute. The
underlying principle is that no man shall be held criminally responsible for conduct which he could not
reasonably understand to be proscribed." United States v. Harriss, 347 U.S. 6]2, 617 (1954); See also
Lamberl‘ v. California, 355 U.S. 225, 228 (1957); london v. De George, 341 U.S. 223, 230-232 (1951);
Dunn v. United Stctes, 442 U.S. 100, 112 (1979)

Perhaps a person who is charged with "receipt" could be charged under the current wording of
the statute, but only if that person is the direct recipient, because that person would directly receive the
firearm that has been shipped at that time, taking the firearm into possession. But after the initial receipt,
and for a person who was not the direct recipient it would only be considered a charge for “possession”
of a firearm that "had been" shipped.

A prime example of the normal usage for this grammatical construction at issue is commonly
applied as follows: “Joe has been incarcerated.” This language ordinarily means that loe is currently

incarcerated due to his continuous incarceration But after Joc is released from detainment, the correct

 

 

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language would be “Joe had been incarcerated.” Similarly, “.loe went to the post office earlier, and the
package has been shipped.” This language ordinarily means that that the shipment is currently on the
way to the recipient. But once the package arrived at it's destination, the correct language would be “The
package had been shipped by Joe.” That is because the shipment was completed, and is no longer in the
process ofshipping.

The Fifth Amendment's Due Process Clause "requires that a penal statute define the criminal
offense with sufficient definiteness that ordinary people can understand what conduct is prohibited and
in a manner that does not encourage arbitrary and discriminatory enforcement." See Alphonsus v. Hola'e);
705 F.3d 1031, 1042 (9th Cir. 2013) (quoting Kolender v. Lmvson, 461 U.S. 352, 357 (1983)). "A
criminal statute must clearly define the conduct it proscribes lf it does not 'give a person of ordinary
intelligence fair notice' of its scope, Um`!ed States v. Balchelder, 442 U.S. 114, 123, 99 S. Ct. 2198, 60 L.
Ed. 2d 755 (1979), it denies due process." (quoting Bond v. Uniled States, 134 S. Ct. 2077, 2097 (2014)}.

ln Uni!ed States v. Brewer, 139 U.S. 278 (1891), the U.S. Supreme Court held "Laws which
create crime ought to be so expressed that all men subject to their penalties may know what acts it is
their duty to avoid," and "before a man can be punished, his case must be plainlv and unmistakablv
within the stalutg." Id. at 288. (emphasis added).

Here, the statute 18 U.S.C. § 922(g) forbids the doing of an act in terms so vague that men of
common intelligence must necessarily guess and speculate at its meaning, and differ as to its applicaticn.
This clearly violates Due Process. A clear reading of the text provides no refuge for the government The
phrase, "has been shipped" understood in the normal way, includes conduct occurring throughout a
crime’s commission; but does not precisely look to the past with specific language, and cannot fairly be
read to include wholly past shipments with a certainty. "Congress could have phrased its requirement in
language that looked to the past . . . , but it did not choose this readily available option" Gwaltney of
Smithjield, Ltd. v. Chesapeake Bay Foundation, Inc., 484 U.S. 49, 57 (l987).

Instead, Congress failed to include past tense language in 922(g), such as "at any time," like they
purposely did in § 922(k), which ultimately means that Congress intentionally left the past tense
language out of` the statute. This is because "Congress`knows how to target past violations when it wants

to do so." Ia'. at 63-64, n 4.

 

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Nonetheless, the Courts usually look to Congress' choice of` verb tense in construing statutes. See
Unired States v. Wilson, 503 U.S. 329, 333 (1992) (holding that "Congress' use ofa verb tense is
significant in construing statutes"). The Dictionary Act also provides significance to the choice of verb
tense. It provides in relevant part: "In determining the meaning of any Act of Congress, unless the
gggler(' indiggtgs chégvisg . . . words used in the present tense include the future as well as the
present." See 1 U.S.C. § 1. Thus, the Dictionary Act evidently instructs us that the usage of present tense
generally DOES NOT INCLUDE THE PAST in determining the meaning of an Act of Congress, and the
context of § 922(g) does not indicate otherwise

Accordingly, a statute that regulates a firearm that "has been shipped" is not readily understood
to encompass a firearm that "had been shipped." Therefore, 18 U.S.C. § 922(g) is void for vagueness by
it's failure to provide a fair warning in plain terms to a person of ordinary intelligence, and leaving the
public in the dark, uncertain as to the conduct it prohibits with regard to the current standard ofjudicial
enforcement

m.`
_C_Q_N_CM§M.

For the reasons mentioned above, l humbly pray that the Court enter an order granting this
Motion to Dismiss for Statutory Vagueness. I declare under penalty of perjury under the law of the State
of Nevada that the foregoing is true and correct, and that this document is executed without the benefit of
a notary pursuant to NRS 208.165, as 1 am a prisoner confined in a private prison within this state of
Nevada.

Executed on April 25, 2018.
Respectfully submitted,
All Rights Reserved and Without Prejudice,

Onzar Qazr'

Signed: M _J_

 

 

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Certiiicate of Service

I hereby certify that on April 25, 2018,1 mailed my Motion to Dismiss for Statutory
Vag'ueness, and Request for E.videntiary Hearing, to the following:

Clerk of the Court

Lloyd D. George U.S. Courthouse
333 Las Vegas Blvd. South, Rm. 1334
Las Vegas, Nevada

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